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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

  MICHAEL A. D'ANTONIO,
                                                 Civil Action No.: 2:16-cv-0816 (CCC-JBC)
                             Plaintiff,

                vs.

  PASSAIC RIVER COALITION; BOROUGH
  OFALLENDALE; STILES THOMAS; JOHN
  ALBOHM; DAVID BOLE; DAVID PFUND;
  MARY MCDONNELL; RICHARD EPSTEIN;
  THOMAS MONAHAN; MARK CARTER;
  LOUIS CAPAZZI; AND BERGEN COUNTY
  SHERIFFS DEPT.

                             Defendants.




      SUPPLEMENTAL BRIEF ON BEHALF OF DEFENDANT, BERGEN COUNTY
        SHERIFF’S DEPARTMENT, IN SUPPORT OF ITS MOTION TO DISMISS




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                                        PRELIMINARY STATEMENT

           Pursuant to the Court’s Order of July 2, 2018 (ECF No. 208), Defendant, Bergen County

  Sheriff’s Department1 (the “Sheriff), submits this supplemental brief to address issues raised by

  the Court with respect to the Sheriff’s Motion to Dismiss plaintiff’s corrected second amended

  complaint (ECF No. 178). Specifically, the Sherriff will provide: (1) the status of the state court

  action brought by plaintiff; (2) its case number; (3) judge; (4) its procedural posture; (5) a brief

  history of rulings; and, (6) the status of plaintiff’s appeal of rulings below.

           The Sheriff will also address on a count by count basis how plaintiff’s claims are barred

  by the Rooker-Feldman abstention doctrine.

              FACTUAL INFORMATION REGARDING STATE COURT CLAIMS

           (1) The status of the state court action brought by plaintiff.

           Plaintiff initiated his state court action against the Sheriff though a Complaint filed on

  May 15, 2015. By Order entered January 8, 2016, the Sheriff was granted leave to Answer out

  of time. An Answer on behalf of the Sherriff was filed that same day, and an Amended Answer

  was filed on March 9, 2016.

           The case stems from events that occurred during plaintiff’s eviction from the property

  located at 316 E. Allendale Avenue, Allendale, New Jersey that had been owned by Calm

  Development, Inc. (“Calm Development”) (plaintiff was director of Calm Development).

  Emigrant Mortgage Company (“Emigrant”) foreclosed on its mortgage to Calm Development.

  Retained Realty, Inc. (“Retained Realty”), Emigrant’s REO affiliate, acquired title to the


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    Throughout this matter and the proceeding brought by plaintiff in New Jersey state court, the Bergen County
  Sheriff's Office has been incorrectly referred to as the “Bergen County Sheriff's Department.” In New Jersey,
  Sheriffs are one of the three county level officers created by the New Jersey Constitution. N.J. Const., Art. 7, § 2,
  par. 2. (The other two county level, constitutional offices are clerks and surrogates.) The Sheriff is authorized to
  appoint Sheriff's Officers to act on his or her behalf. N.J.S.A. 40A:9-117.6. Thus, the legal party in interest here is
  Michael Saudino, the Bergen County Sheriff, and the office that he maintains to perform his duties. For consistency,
  however, the reference to the “Department” is continued here, subject to this correction.
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  property at a Sheriff’s Sale on December 6, 2013.        A writ of possession was directed to the

  Sheriff commanding him to “without delay … cause Retained Realty, Inc. to have possession of

  … lands and premises.”

         On May 14, 2015 and May 15, 2014, the Sheriff dispatched officers to the Property to

  effect the eviction of plaintiff. When the Sheriff's Officers arrived to evict plaintiff, he presented

  them with a copy of a lease and purported proof of payment of rent. Since the Sheriff’s Officers

  did not accept the representations of plaintiff as a basis to stop the eviction, he appeared before

  Honorable Gerald C. Escala, J.S.C. (Ret.). to seek a stay but Judge Escala entered an Order

  denying Plaintiff's application for a stay. Plaintiff returned to the Property without any order

  from the court either staying the eviction or quashing the writ.          As a result, the eviction

  continued.

         In the state court action, plaintiff sought to recover for loss or damage to personal

  property that allegedly occurred either during or shortly after the eviction. Plaintiff alleged that

  it the Sherriff “acted in a negligent willfully illegal manner in the deposition of [his] personal

  property or delivery of same to a designated storage facility.” In addition, plaintiff alleged that

  the Sheriff, with the assistance of another defendant, coerced him into signing a release of any

  property remaining on the premises. Finally, Plaintiff asserted that Sheriff's Officers denied him

  access to his possessions during the eviction process.

         (2) Case number of state court action.

         The state court action was maintained at the trial court level under docket number BER-

  L-4562-15 in the Superior Court of New Jersey, Law Division, Bergen County.                  Plaintiff

  appealed the determination of the trial court. That appeal is pending before the Superior Court of

  New Jersey, Appellate Division under docket number A-00011-17T4.




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         (3) State court judge.

         The Honorable Estela De La Cruz, J.S.C.

         (4) Procedural posture of state court action.

         Plaintiff appealed the rulings of the trial court described below. Briefing has been

  completed. A ruling from the Appellate Division is anticipated in due course.

         (5) A brief history of rulings in the state court action.

         Plaintiff filed a motion for summary judgment on September 22, 2016. The Sheriff and

  the other defendants filed motions for summary judgment as well. The Sheriff's motion for

  summary judgment was filed on October 20, 2016.

         By orders entered February 21, 2017, the court below denied plaintiff's summary

  judgment motion and granted the motions for summary judgment by the Sheriff for the reasons

  set forth in a written opinion of that same date. (ECF No. 84-2, pages 6 - 25). Plaintiff moved

  for reconsideration of the decision of the state trial court. By order entered on April 7, 2017 the

  court denied plaintiff's motion for reconsideration.

         (6) Status of plaintiff’s appeal of rulings below.

         Plaintiff’s appeal of the rulings below has been fully briefed and the parties are awaiting

  a ruling on the merits of plaintiff’s appeal.

                                             ARGUMENT

         I. Count by Count analysis of the factual basis of Plaintiff’s claims against the
         Sheriff.

                 a. Plaintiff’s first cause of action.

         Plaintiff posits his first cause of action on purported violations of 42 U.S.C. §§ 3601-

  3614, U.S. Const. amend. XIV, and 42 U.S.C. §1983. The purported factual basis for these

  claims against the Sheriff described only ¶¶14, 23 and 29 that:



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                 the foreclosure occurred without the plaintiff receiving proper and
                 legal notice from the defendants, the Borough of Allendale, the
                 BOA and the Bergen County Sheriff's Department. Furthermore,
                 Richard A. Epstein acted in concert with the Borough of Allendale,
                 BOA and the Bergen County Sheriff's Department by failing to
                 carry out the full Writ of Possession for all of the land, and not just
                 the plaintiff's;

  (ECF No. 167, ¶14), that:

                 plaintiff was denied the right to remain on his property in spite of a
                 NJ State court judge so directing; illegally preventing the plaintiff
                 from obtaining the deed for the plaintiff's property from the Bergen
                 County Sheriff's Office by altering bank documents; and by failing
                 to provide the plaintiff with proper, fair, and timely notice of the
                 Bergen County Sheriff’s sale of his property without just cause and
                 with regard to the Bergen County's Sheriff’s failure to fully
                 execute the Writ of Possession on all of the properties;

  (ECF No. 167, ¶23), and:

                 [t]hat the plaintiff was not properly nor timely notified of the
                 Sheriff's sale of his property in 2013, causing the plaintiff to loose
                 [sic] his property, and preventing the plaintiff from building
                 affordable housing on his property.

  (ECF No. 167, ¶29).

                 b. Plaintiff’s second cause of action.

         Plaintiff’s second cause of action alleges willful misconduct by defendants, purportedly

  acting concert to deny plaintiff his constitutional rights. In particular, with regard to the Sheriff,

  plaintiff alleges that during the eviction he was:

                 denied access to his property, thus, making it impossible for him to
                 know whether all of his personal property was taken out of his
                 home and again violating his Due Process rights as some of the
                 property taken from the plaintiff's home were taken without notice;
                 were never returned; were taken without consent.

  (ECF No. 167, ¶52).




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         II. The Court should abstain from ruling on Plaintiff’s claims against the Sheriff
         pursuant to the Rooker-Feldman doctrine.

         The Rooker-Feldman doctrine (Rooker v. Fidelity Trust Co., 263 U.S. 413 (1923) and

  D.C. Court of Appeals v. Feldman, 460 U.S. 462 (1983)) stands for the proposition that only the

  United States Supreme Court has appellate jurisdiction over state court judgments. Jones,

  Allison, The Rooker-Feldman Doctrine: What Does It Mean to be Inextricably Intertwined? 56

  Duke L. Rev. 643 (2006). This is because under 28 U.S.C. § 1257 the Supreme Court has

  exclusive jurisdiction to review rulings of state courts.

         Rooker case centered on whether the district court had the authority to invalidate the

  decision of the Supreme Court of Indiana. 263 U.S. at 414 (1923). The Supreme Court held that

  the district court lacked authority to hear such a case since its jurisdiction limited to diversity

  jurisdiction or that of a federal question. The case at hand met neither of those.

         Feldman dealt with two bar applicants who sought a waiver of a District of Columbia

  regulation that required applicants to hold a degree from an American Bar Association accredited

  law school for admission as member of its bar. The Supreme Court considered whether the

  United States District Court for the District of Columbia had the authority to review decisions of

  the District of Columbia courts. 460 U.S. at 463. It held that the district court did not have such

  authority, noting the strong distinction between reviewing final judgment of such a court and the

  validity of the law or regulation being challenged. Id. at 484.

         The doctrine deprives this Court of subject matter jurisdiction over Plaintiff’s claims

  seeking to set aside the state-court judgment or seeking redress for an injury allegedly caused by

  that judgment. If the injury the plaintiff complains of resulted from, or is inextricably intertwined

  with, a state-court judgment, then lower federal courts cannot hear the claim.




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          Moreover, a litigant cannot attempt to circumvent the doctrine by seeking a reversal of a

  state court judgment simply by casting the complaint in the form of a civil rights action. Holt v.

  Lake Cty. Bd. of Comm'rs, 408 F.3d 335, 336 (7th Cir. 2005); See also, Johnson v. Orr, 551 F.3d

  564 (7th Cir. Ill. 2008).

          The facts alleged by plaintiff against the Sheriff to support his second cause of action are

  clearly bared by the Rooker-Feldman doctrine. Those allegations virtually parrot the claims

  made by plaintiff in the state court action.

          Likewise the allegations in Plaintiff’s first cause of action are inextricably intertwined

  with the state court action, barring him from raising them in this forum. That term, inexplicitly

  intertwined, “highlight[s] that a challenge to a judgment is barred even if the claim forming the

  basis of the challenge was not raised in the state proceedings.” Bolden v. City of Topeka, 441

  F.3d 1129, 1141 (10th Cir. 2006). “Rooker-Feldman bars a federal claim, whether or not raised

  in state court, that asserts injury based on a state judgment and seeks review and reversal of that

  judgment; such a claim is ‘inextricably intertwined’ with the state judgment.”          Hoblock v.

  Albany County Board of Elections, 422 F.3d 77, 86-87 (2d Cir. 2005).

                  When a federal plaintiff brings a claim, whether or not raised in
                  state court, that asserts injury caused by a state-court judgment and
                  seeks review and reversal of that judgment, the federal claim is
                  “inextricably intertwined” with the state judgment.

  Great W. Mining & Mineral Co. v. Fox Rothschild LLP, 615 F.3d 159, 170 (3d Cir. 2010).

          Thus, Plaintiff’s assertions that the Sheriff somehow acted to deprive him of

  constitutional rights in its handling of the lender’s foreclosure on the Property and his removal

  from it fall squarely within the Rooker-Feldman doctrine. This Court lacks jurisdiction over

  those claims and should abstain from hearing the matter.




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                                           CONCLUSION

         For the reasons set forth above, as well as those previously articulated by the Sheriff as

  part of its motion to dismiss, the Court should dismiss all of plaintiff’s claims against the Sheriff

  with prejudice.

                                                        Respectfully submitted,

                                                        /s/ Leonard E. Seaman
                                                        Leonard E. Seaman
  DATED: August 1, 2018




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